                              NO. 07-10-00438-CR
                                       
                            IN THE COURT OF APPEALS
                                       
                       FOR THE SEVENTH DISTRICT OF TEXAS
                                       
                                  AT AMARILLO
                                       
                                    PANEL B
                                       
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FEBRUARY 22, 2011
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                         LUIS ANGEL OLVERA, APPELLANT
                                       
                                      v.
                                       
                         THE STATE OF TEXAS, APPELLEE 
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              FROM THE 222ND DISTRICT COURT OF DEAF SMITH COUNTY;
                                       
                NO. CR-10D-041; HONORABLE ROLAND D. SAUL, JUDGE
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Before QUINN, C.J., and CAMPBELL and HANCOCK, JJ.


                              MEMORANDUM OPINION
                                       
Appellant Luis Angel Olvera appeals his conviction for felony driving while intoxicated.  The certification of right to appeal executed by the trial court states that this "is a plea bargain case and the defendant has NO right of appeal and the defendant has waived the right of appeal."  This fact was brought to the attention of appellant by letter and he was granted an opportunity to obtain an amended certification entitling him to appeal.  No such certification was received within the time we allotted.  Having received no amended certification, we dismiss the appeal.  Tex. R. App. P. 25.2(d); see Chavez v. State, 183 S.W.3d 675, 680 (Tex.Crim.App. 2006) (appellate court must dismiss prohibited appeal without further action).

								James T. Campbell
									Justice

Do not publish. 

	

